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kevincmaxwell@gmail.com

 

aii
From: kevincmaxwell@gmail.com
Sent: Wednesday, August 11, 2021 02:23 PM
To: ‘Justin Peterson’
Subject: RE: Case 6:21-cv-01245-CEM-GJK Rare Breed Triggers, LLC et al v. Garland et al

Good afternoon Mr. Clendenen,

| don’t entirely agree with your conclusions.

| did file a reply to the ATF cease and desist letter and the opinions of my experts as well as their resumes were
attached. SAC Saier acknowledged receipt. | would point out, ATF issued the cease and desist without making contact
with me about how the trigger functions and declined to provide me the examination report, as the SAC had never seen
it, neither had legal counsel, who was also present.

| am, at this point, a little unclear as to what you consider to be part of the “administrative records” since from my point
of view, it contains nothing, accept the cease and desist letter. This is of course, based on your stated position that my
expert opinions aren’t outside the record, | suppose my reply is as well.

Is it your suggestion | am not entitled to due process?

| and the ATF have a factual dispute over the Operation of the FRT-15. In order for the ATF to find the FRT-15 is a
machinegun the ATF would have to make arbitrary and capricious change the definition of a machinegun under the NFA.

However, since | haven’t seen how or if at all the examination was conducted | am at a loss on how the ATF came this
erroneous conclusion.

| have a 2:30 hearing, once that is over | will be available to meet and confer.

From: Clendenen, Michael P. (CIV) <Michael.P.Clendenen@usdoj.gov>

Sent: Wednesday, August 11, 2021 11:44 AM

To: kevincmaxwell@gmail.com

Cc: kevinmaxwellp|@gmail.com

Subject: RE: Case 6:21-cv-01245-CEM-GJK Rare Breed Triggers, LLC et al v. Garland etal

Good morning Mr. Maxwell,

There is an examination report that we hope to send to you soon, and we will in any event include it as part of the
Administrative Record filed no later than Monday.

Because this is an APA case, ATF’s position is that the Court’s review must be limited to the administrative record. See 5
U.S.C. § 706; see, e.g., Pres. Endangered Areas of Cobb's Hist., Inc. v. U.S. Army Corps of Engineers, 87 F.3d 1242, 1246
(11th Cir. 1996). As such, we do not think any witnesses should be allowed at this hearing, and we are prepared to file a
motion in limine to that effect. Moreover, the exhibits (i.e. the experts’ letters) already attached to the Pl motion, TRO
motion, and Complaint are outside the administrative record and subject to being stricken from the court’s
consideration. Are you available at all this afternoon to discuss and to meet and confer as required under the local rules?

Respectfully,

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Michael P. Clendenen

Trial Attorney

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From: kevincmaxwell@gmail.com <kevincmaxwell@gmail.com>

Sent: Tuesday, August 10, 2021 3:09 PM

To: Clendenen, Michael P. (CIV) <Michael.P.Clendenen@usdoj.gov>

Cc: kevinmaxwellpl@gmail.com

Subject: Case 6:21-cv-01245-CEM-GJK Rare Breed Triggers, LLC et al v. Garland et al

Mr. Clendenen;

Have you determined if there is an examination report and if so, are you ina position yet where you can provide me
copy?

| have all four of my experts prepared to appear on 8/18/21. They would very much like to review it beforehand.
| would also like to know if you plan to exchange witness lists and discuss marking exhibits before Monday.

Kevin C. Maxwell, Esquire

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